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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


BLACK LIVES MATTER D.C., et al.,

                     Plaintiffs,
                                                  Case No. 1:20-cv-01469 (DLF)
       v.
                                                  (consolidated with: No. 1:20-cv-1542-DLF)
WILLIAM P. BARR, et al.,

                      Defendants.


                                         ERRATA

       Plaintiff Black Lives Matter D.C. (“BLMDC”), by and through its attorneys, submits this

Errata to correct the signature block on its Fourth Amended Class Action Complaint (ECF 213)

(the “Fourth Amended Complaint”) filed with this Court on April 12, 2024. Attached please find

the Fourth Amended Complaint with the corrected signature block.


                                                  Respectfully submitted,

                                                  /s/ David Brody
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on May 13, 2024, I electronically filed the foregoing with the

Clerk of Court for the United States District Court for the District of Columbia using the

CM/ECF system. Counsel for all parties to the case are registered CM/ECF users and will be

served by the CM/ECF system.


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